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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF MARYLAND

UNITED STATES OF AMERICA )
                         )
    v.                   )                           CASE NO.: DKC-19-00541
                         )
CATHERINE E. PUGH        )
                         )

           UNOPPOSED MOTION TO EXTEND REPORTING DATE


      Defendant Catherine Pugh, through counsel, Andrew C. White, hereby

moves this Honorable Court to extend her reporting date to commence service of

her sentence and states as follows:

      1.       On February 27, 2020, this Court sentenced the Defendant to 36

months incarceration. The Court allowed the defendant to self- surrender, and she

is currently scheduled to report to commence service of sentence on Friday, April

13, 2020, at an institution to be designated by the Bureau of Prisons.

      2.       The Defendant requests that her reporting date be extended by two

weeks – until April 27, 2020. This extension will allow the Defendant to remain

at her house until her niece, who lives with her at the residence, has completed the

current school semester at the University of Maryland Law School.

      3.       Undersigned counsel has spoken to AUSA Marty Clarke and is

authorized to represent to the Court that the United States does not object to this

requested extension of the Defendant’s reporting date.
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      4.       For these reasons the Defendant respectfully requests that the Court

extend her reporting date to April 27, 2020 at an institution designated by the

Bureau of Prisons.

      5.       All terms and conditions of the Defendant’s current release are to

remain in full force and effect.

                                   Respectfully submitted,



                                   _____________/s/______________________
                                   Andrew C. White
                                   Silverman, Thompson, Slutkin & White, LLC
                                   201 North Charles Street
                                   Suite 2600
                                   Baltimore, Maryland 21201
                                   (410) 576-2200


                           CERTIFICATE OF SERVICE


      I HEREBY CERTIFY, that on March 2, 2020, a copy of the foregoing
motion was filed via ECF and a copy sent to AUSA Marty Clarke, 36 South
Charles Street, 4th Floor, Baltimore, MD 21201.



                                   ________/s/___________________
                                   Andrew C. White
